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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                       )
 JANE DOE 2, et al.,                                   )
                                                       )
                                Plaintiffs,            )     Civil Action No. 17-cv-1597 (CKK)
 v.                                                    )
                                                       )
 PATRICK SHANAHAN, in his official capacity            )
 as Secretary of the Department of Defense, et         )
 al.,                                                  )
                                                       )
                                Defendants.            )

                 PARTIES’ JOINT STATUS REPORT IN RESPONSE TO
                            JANUARY 30, 2019 ORDER

       On January 30, 2019, the Court ordered the “parties to meet and confer regarding scope

and breadth of discovery as the case now stands,” and directed the parties to “focus on how the

scope and breadth of permissible discovery is affected by the D.C. Circuit’s determination that

the Mattis plan is not a continuation of the 2017 Presidential Memorandum but is instead a new

plan.” Order 2, Dkt. 188. The Court further ordered the parties to file a joint status report

“informing the Court on how the parties intend to proceed with discovery” by February 26, 2019.

Id.

       The parties timely conferred in accordance with the Court’s Order. The parties have been

working together in an attempt to narrow or eliminate discovery disputes in light of the D.C.

Circuit’s ruling and this Court’s Order. The parties respectfully request additional time to

resolve these disputes and propose filing another joint status report in 30 days (on March 28,

2019) to inform the Court on the status of any remaining disputes and to propose a schedule for

discovery and the filing of dispositive motions.




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February 26, 2019                         Respectfully submitted,

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